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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PAUL SVINDLAND and
ALLISON SVINDLAND
                                                :           CIVIL ACTION
                                                :
                  v.                            :
                                                :
THE A.I. DUPONT HOSPITAL FOR
CHILDREN OF THE NEMOURS
FOUNDATION, ET AL
                                                :           NO. 05-0417


                                         CIVIL JUDGMENT

Before the Honorable Berle M. Schiller

                 AND NOW, this 15th day of May, 2007, in accordance with the verdict sheet,



                 IT IS ORDERED that Judgment be and the same is hereby entered in favor of the

defendants and against the plaintiffs.




                                                BY THE COURT:




                                                Berle M. Schiller, J.



Civ 1 (8/80)

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